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044483/19344/TPD/AJM

                         U.S. DISTRICT COURT FOR THE
             SOUTHERN DISTRICT OF ILLINOIS, EAST ST. LOUIS DIVISION

JAMES JOHNSON, #R43615,

                       Plaintiff,

v.

JOHN BALDWIN, JACQUELINE LASHBROOK,
MEDICAL DIRECTOR SIDDIQUI, SUSAN
HAWKINS, REEVA ENGELAGE, MAJOR CHAD                             No. 3:18 -cv- 01374-NJR
HASSELMEYER, LIEUTENANT WITTHOFT,
                                                                Judge Nancy J. Rosenstengel
SERGEANT LINDENBERG, SERGEANT JONES,
KYLE A. BRUMLEVE, WESLEY N. ENGELAGE,
JOHN MCCALEB, GUARD GRIFFIN, GUARD
DUDINSKY, GUARD DULAINEY, JOHN DOE #1-
2, JOHN DOE #1-4, and JOHN CARTER,

                       Defendants.

                                    ANSWER TO COMPLAINT

       COMES NOW Defendant, MOHAMMED SIDDIQUI, M.D., by and through his

attorneys CASSIDAY SCHADE LLP, and for his Answer to Plaintiff, JAMES JOHNSON,

#R43615’s First Amended Complaint [Doc. 19], states as follows:

I.     INTRODUCTION

               1.      As this paragraph sets forth conclusions of law rather than averments of

fact, this defendant offers no answer or response hereto. In the event any of the statements in

this paragraph are construed as averments of fact and are construed as against this defendant,

they are denied.

               2.      Defendant denies that he violated Plaintiff’s rights.

               3.      Defendant denies that Plaintiff is entitled to the requested relief. All other

allegations in this paragraph are denied.

       II.     PLAINTIFF
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               4.      On information and belief, admit.

       III.    DEFENDANTS

               5.      As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               6.      As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               7.      As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               8.      Defendant admits that he is employed by Wexford Health Sources, Inc. as

the Medical Director at Menard Correctional Center. Except as expressly admitted herein, the

remaining allegations in this paragraph are denied.

               9.      As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               10.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               11.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




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               12.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               13.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               14.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               15.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               16.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               17.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               18.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




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               19.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               20.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               21.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               22.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               23.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               24.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               25.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




                                                 4
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               26.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               27.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               28.     As this paragraph sets forth conclusions of law rather than averments of

fact, this defendant offers no answer or response hereto. In the event any of the statements in

this paragraph are construed as averments of fact and are construed as against this defendant,

they are denied.

       IV.     FACTS

               29.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               30.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               31.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               32.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               33.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




                                                 5
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               34.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               35.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               36.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               37.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               38.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               39.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               40.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               41.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




                                                 6
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               42.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               43.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               44.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               45.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               46.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               47.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               48.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               49.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




                                                 7
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               50.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               51.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               52.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               53.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               54.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               55.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               56.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               57.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




                                                 8
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               58.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               59.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               60.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               61.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               62.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               63.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               64.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




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               65.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               66.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               67.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               68.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               69.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               70.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               71.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               72.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.




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               73.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               74.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               75.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               75.     (sic) Defendant is without sufficient knowledge or information to admit or

deny the allegations contained in this paragraph; said allegations are therefore denied.

               76.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               77.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               78.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               79.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               80.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




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               81.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               82.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               83.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               84.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               85.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               86.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               87.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               88.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.




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               89.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               90.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               91.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               92.     Defendant admits only that Plaintiff had certain diseases and conditions

and received certain care and treatment as is more fully and completely reflected in his medical

records. Except as expressly admitted herein, the remaining allegations are denied.

               93.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               94.     Defendant admits only that Plaintiff had certain diseases and conditions

and received certain care and treatment as is more fully and completely reflected in his medical

records. Except as expressly admitted herein, the remaining allegations are denied.

               95.     Defendant admits only that Plaintiff had certain diseases and conditions

and received certain care and treatment as is more fully and completely reflected in his medical

records. Except as expressly admitted herein, the remaining allegations are denied.

               96.     Defendant admits only that Plaintiff had certain diseases and conditions

and received certain care and treatment as is more fully and completely reflected in his medical

records. Except as expressly admitted herein, the remaining allegations are denied.




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               97.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               98.     As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               99.     Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               100.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               101.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               102.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               103.    Defendant admits only that Plaintiff had certain diseases and conditions

and received certain care and treatment as is more fully and completely reflected in his medical

records. Except as expressly admitted herein, the remaining allegations are denied.

               104.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               105.    Defendant admits only that Plaintiff had certain diseases and conditions

and received certain care and treatment as is more fully and completely reflected in his medical

records. Except as expressly admitted herein, the remaining allegations are denied.




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               106.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               107.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               108.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               109.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               110.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               111.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               112.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               113.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               114.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               115.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.




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               116.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               117.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               118.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               119.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               120.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               121.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               122.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               123.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




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               124.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               125.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               126.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               127.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               128.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               129.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               130.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               131.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




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               132.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               133.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               134.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               135.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               136.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               137.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               138.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               139.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.




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               140.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               141.    Defendant is without sufficient knowledge or information to admit or deny

the allegations contained in this paragraph; said allegations are therefore denied.

               142.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               143.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               144.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               145.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

       V.      EXHAUSTION OF LEGAL REMEDIES

               146.    Defendant admits that there exist grievance procedures at Stateville

Correctional Center and Menard Correctional Center. Defendant is without knowledge whether

Plaintiff appropriately utilized the grievance procedure or followed the exhaustion requirements,

and therefore denies any allegations referencing the same.

       VI.     LEGAL CLAIMS




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               147.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               148.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               149.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               150.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               151.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               152.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               153.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




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               154.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               155.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               156.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               157.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               157.    (sic) As the allegations in this paragraph are not directed toward this

defendant, no answer or response is offered hereto. In the event that allegations in this paragraph

are construed against this defendant, the same are denied.

               158.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               159.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




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               160.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               161.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               162.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               163.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               164.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               165.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               166.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




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               167.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               168.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               169.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               170.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               171.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               172.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               173.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.




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               174.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               175.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               176.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               177.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               178.    Defendant denies that he was deliberately indifferent to Plaintiff’s medical

needs. All allegations in this paragraph are denied.

               179.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               180.    As the allegations in this paragraph are not directed toward this defendant,

no answer or response is offered hereto. In the event that allegations in this paragraph are

construed against this defendant, the same are denied.

               181.    Defendant denies that Plaintiff is entitled to the requested relief.

       VII.    PRAYER FOR RELIEF

               182.    Defendant denies that Plaintiff is entitled to the requested relief.




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               183.    Defendant denies that Plaintiff is entitled to the requested relief.

               184.    Defendant denies that Plaintiff is entitled to the requested relief.

               185.    Defendant denies that Plaintiff is entitled to the requested relief.

               186.    Defendant denies that Plaintiff is entitled to the requested relief.

               187.    Defendant also requests a trial by jury.

               188.    Defendant denies that Plaintiff is entitled to the requested relief.

               189.    Defendant denies that Plaintiff is entitled to the requested relief.

                                  AFFIRMATIVE DEFENSES

       1.      At all times relevant herein, Defendant acted in good faith in the performance of

his official duties and without violating Plaintiff’s clearly established statutory or constitutional

rights of which a reasonable person would have known. Defendant is therefore protected from

suit by the doctrine of qualified immunity.

       2.      To the extent that the Plaintiff has failed to exhaust his administrative remedies

prior to the initiation of this cause of action, Plaintiff’s claims are barred by the Prison

Litigation Reform Act and other applicable statutes.

       3.      To the extent Plaintiff’s claims are against Defendant in this official capacity,

the claims are barred by the Eleventh Amendment.

       4.      Plaintiff’s claims are barred by the applicable statute of limitations.

       WHEREFORE Defendant, MOHAMMED SIDDIQUI, M.D., prays that this Court

dismisses this action with prejudice with all costs to Plaintiff and for such other and further relief

that this Court deems just and proper.

                                               Respectfully submitted,

                                               CASSIDAY SCHADE LLP




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                                   By: /s/ Timothy P. Dugan
                                       Attorneys for Defendant, MOHAMMED
                                       SIDDIQUI, M.D.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 1, 2018, I electronically filed the foregoing Answer to

Plaintiff’s Complaint with the Clerk of the Southern District of Illinois using the CM/ECF

system. The electronic case filing system sent a “Notice of E-Filing” to the following:

Megan Ann Ditzler, Esq.
Illinois Attorney General's Office
500 South Second Street
Springfield, IL 62701
mditzler@atg.state.il.us



        and I hereby certify that a true and correct copy of the foregoing Answer to Plaintiff’s

Complaint was served via regular mail to the following non-CM-ECF participant at the

following address by depositing the same in the U.S. mail located in St. Louis, Missouri, with

proper postage prepaid, before the hour of 5:00 p.m., on November 1, 2018. Under penalties as

provided by law pursuant to 735 ILCS 5/1-109, I certify that the statements set forth herein are

true and correct:

PRO SE:
James Johnson, #R43615
Menard Correctional Center
711 Kaskaskia Street
Menard, IL 62259



                                                                            /s/ Timothy P. Dugan
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